JS 44 (Rev. 10/20)                 Case 2:22-cv-00967-NIQA
                                                      CIVIL Document 1 Filed 03/14/22 Page 1 of 21
                                                            COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS

          NIKOLOS DEVORE                                                                                     THE PHILADELPHIA CRICKET CLUB
    (b)   County of Residence of First Listed Plaintiff                Philadelphia                           County of Residence of First Listed Defendant              Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
      Lane J. Schiff , Esquire
      Console Mattiacci Law LLC, 1525 Locust Street, 9th Floor
      Philadelphia, PA 19102 215-545-7676
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                          of Business In This State

    2   U.S. Government                      4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                                     Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                       462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                 Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
      Proceeding             State Court                                Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                                 (specify)                  Transfer                         Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             29 U.S.C. §621, et seq. (“ADEA”); 43 P.S. §951, et seq. (“PHRA”), Phila. Code §9-1101, et seq. (“PFPO”).
VI. CAUSE OF ACTION                          Brief description of cause:
                                             Plaintiff brings this action against his former employer for unlawful discrimination.
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                              excess of $75,000                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                               DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
March 14, 2022
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                   JUDGE                           MAG. JUDGE
                            Case 2:22-cv-00967-NIQA   Document
                                               UNITED STATES     1 Filed
                                                             DISTRICT    03/14/22 Page 2 of 21
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                        Philadelphia, PA 19103
Address of Plaintiff: ______________________________________________________________________________________________
                                       415 Willow Grove Avenue, Philadelphia, PA 19103
Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      3/14/22
DATE: __________________________________                     __________________________________________
                                                                       ___
                                                                        _____
                                                                           ____
                                                                              ____
                                                                              ___
                                                                              __ ________
                                                                                       ___                                                 314179
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law
                                                                            orn
                                                                             rnney
                                                                                ey-at-La
                                                                                      L w / Pro SSe Plaintiff                                 Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

          Lane J. Schiff, Esquire
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      3/14/22
DATE:__________________________________                     __________________________________________
                                                                        __
                                                                         ___
                                                                           _____________                                                   314179
                                                                                                                               __________________________________
                                                                         Attorney-at-Law
                                                                              ney-a
                                                                                  at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                    CASE MANAGEMENT TRACK DESIGNATION FORM
          NIKOLOS DEVORE                                                      CIVIL ACTION
                            PLAINTIFF,
                       v.
        THE PHILADELPHIA CRICKET CLUB
                                                                             NO.
                            DEFENDANT.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1 :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus- Cases brought under 28 U.S.C.§ 2241 through§ 2255.                                ( )
(b) Social Security- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )
(c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( )
(d) Asbestos- Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )
(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )
(f) Standard Management- Cases that do not fall into any one of the other tracks.                    ( X)

 March 14, 2022
                                                                        Plaintiff, Nikolos DeVore
Date                               Attori�                               Attorney for
   (215) 545-7676                 (215) 565-2859                      schiff@consolelaw.com


Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
NIKOLOS DEVORE                            :
Philadelphia, PA 19103                    :                   CIVIL ACTION NO.
                                          :
                        Plaintiff,        :
                                          :
              v.                          :
                                          :
THE PHILADELPHIA CRICKET CLUB             :
415 Willow Grove Avenue                   :
Philadelphia, PA 19103                    :                   JURY TRIAL DEMANDED
                                          :
                        Defendant.        :
_____________________________________     :

                                 CIVIL ACTION COMPLAINT

I.     INTRODUCTION

       Plaintiff, Nikolos DeVore, brings this action against his former employer, the

Philadelphia Cricket Club, for unlawful discrimination, in violation of the Age Discrimination in

Employment Act, as amended, 29 U.S.C. §621, et seq. (“ADEA”), the Pennsylvania Human

Relations Act, as amended, 43 P.S. §951, et seq. (hereinafter “PHRA”), and the Philadelphia Fair

Practices Ordinance, as amended, Phila. Code §9-1101, et seq. (“PFPO”). Plaintiff seeks all

damages allowable at law, including back-pay, front-pay, compensatory, punitive, liquidated,

costs and attorneys’ fees, and all other relief that this Court deems appropriate.

II.    PARTIES

       1.      Plaintiff, Nikolos DeVore, is an individual and a citizen of the Commonwealth of

Pennsylvania. He resides in Philadelphia, Pennsylvania.

       2.      Plaintiff was born in May of 1966.
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         3.     Defendant, the Philadelphia Cricket Club, is a country club located at 415 Willow

Grove Avenue, Philadelphia, Pennsylvania 19103.

         4.     At all times material hereto, Defendant acted by and through its authorized agents

and/or employees acting within the course and scope of their employment with Defendant and in

furtherance of Defendant’s business.

         5.     At all times material hereto, Defendant was an employer within the meanings of

the statutes that form the basis of this matter.

         6.     At all times material hereto, Plaintiff was an employee within the meanings of the

statutes that form the basis of this matter.

III.     JURISDICTION AND VENUE

         7.     The causes of action that form the basis of this matter arise under the ADEA,

PHRA, and the PFPO.

         8.     The District Court has jurisdiction over Count I (ADEA) pursuant to 28 U.S.C.

§1331.

         9.     The District Court has jurisdiction over Count II (PHRA) and Count III (PFPO)

pursuant to 28 U.S.C. §1367.

         10.    Venue is proper in the District Court pursuant to 28 U.S.C. §1391(b).

         11.    On or about November 17, 2020, Plaintiff filed a Complaint of Discrimination

with the Pennsylvania Human Relations Commission (“PHRC”), cross-filed with the Equal

Employment Opportunity Commission (“EEOC”), complaining of the acts of discrimination

alleged herein. Attached hereto and marked as Exhibit “A” is a true and correct copy of the

PHRC Complaint (with personal identifying information redacted).




                                                   2
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          12.   On January 4, 2022, the EEOC issued to Plaintiff a Notice of Right to Sue

regarding his PHRC Complaint. Attached hereto and marked as Exhibit “B” is a true and correct

copy of this notice (with minor redactions for purposes of electronic filing of

confidential/identifying information).

          13.   Plaintiff is filing this complaint within ninety (90) days from his receipt of this

notice.

          14.   Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.       FACTUAL ALLEGATIONS

          15.   Plaintiff was employed by Defendant from in or about May 2011 until on or about

August 22, 2020, the date of his unlawful termination of employment.

          16.   Plaintiff held the position of Head Tennis Professional. In that role, he had

administrative responsibilities and provided lessons to members of the club in different racquet

sports.

          17.   Plaintiff consistently performed his job duties in a highly competent manner and

received positive feedback.

          18.   From the time Plaintiff was hired until in or about May of 2020, Plaintiff reported

to Greg Bowser (age 46), Director of Tennis. Bowser reported to Linda Cozzi, Chief Financial

Officer.

          19.   In or about May 2020, Bowser’s employment was terminated.               Defendant

thereafter renamed his open position Director of Racquets.

          20.   Following Bowser’s termination, Plaintiff held the position of interim Director of

Racquets while Defendant conducted a search for Bowser’s permanent replacement.



                                                 3
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       21.     Despite Plaintiff’s interim title, Defendant informed Plaintiff that he would not be

considered for the full-time position.

       22.     On or about August 7, 2020, Defendant hired Boris Fetbroyt (age 34) for the

Director of Rackets position.

       23.     On or about August 22, 2020, Defendant terminated Plaintiff’s employment.

       24.     Defendant’s articulated reasons for terminating Plaintiff’s employment was that

he did not lead appropriately during the summer.          Specifically, Defendant articulated that

Plaintiff did not do a good job leading and scheduling the summer staff, and that Plaintiff did not

do a good job organizing the annual tennis and golf social mixer.

       25.     Defendant’s stated reason is a pretext.

       26.     Plaintiff was not responsible for the summer staff. Ritesh Nautiyal (approximate

age 44), Director of Junior Tennis, held that responsibility.

       27.     Furthermore, the annual tennis and golf mixer, which was held the day of

Plaintiff’s termination was a success.

       28.     Prior to Plaintiff’s termination, Defendant never informed Plaintiff that he was

performing his job poorly nor did Defendant utilize any progressive discipline.

       29.     Defendant primarily replaced Plaintiff with Nautiyal. Nautiyal is significantly

younger and less qualified than Plaintiff.

       30.     Following Plaintiff’s termination, Defendant additionally hired three (3) full-time

Racquets Professionals: Justin Poletti (approximate age 42) Senior Racquets Professional, Nick

Simeone (approximate age 25), Racquets Professional, and Alexandros Caldwell (approximate

age 24), Racquets Professional.

       31.     Poletti, Simeone, and Caldwell additionally assumed part of Plaintiff’s job



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duties and responsibilities. Each employee was substantially younger and less qualified than

Plaintiff.

        32.      Following Plaintiff’s termination, numerous members of Defendant wrote

letters supporting Plaintiff to Defendant. Some of the many positive comments about Plaintiff

include, but are not limited to:

                        a. “Nik Devore, who has worked as the Head Tennis Professional at PCC

        for nine years, was fired on Saturday and escorted off the grounds and his email was shut

        down. This abrupt and disrespectful treatment was uncalled for – his record at the club is

        spotless and his reviews have always been positive … The treatment of Nik Devore in

        such a disrespectful and demeaning manner embarrasses me, as it should embarrass all

        members of the club. Nik is one of the most respected employees at the club - he is a

        kind, decent person who loves tennis and wants others to enjoy playing tennis. His

        dismissal and removal from the premises was uncalled for.”

                        b.     “We were very surprised and saddened by the sudden termination

        of Nik Devore. In all of our dealings with him over the years, he always came across as

        being a total professional, an excellent teacher and someone who was dedicated to The

        Philadelphia Cricket Club.”

                        c.     “Like many of my friends in the tennis-playing community at

        PCC, I was dismayed to hear about the sudden dismissal of Nik Devore from his role as a

        lead teaching professional. I have taken lessons from Nik and found his teaching to be

        outstanding – in fact leading to valuable insights about my game that had never been

        recognized or mentioned by other professionals in the past … His personal and




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professional qualities all made him one of the most valuable components of the tennis

program at PCC.”

               d. “Nik is an effective tennis professional and a man of excellent

character. His termination without any record of poor performance is not a moment of

pride for PCC. He deserved better … The process followed for Nik’s termination was

seriously flawed.”

               e.      “I am incredibly disappointed that PCC would let Nik go. I worked

with Nik on a weekly basis for over five years and came to know him as an excellent

coach and teacher. To me, his talent lies in not just quickly identifying a player's problem

areas, but in prioritizing the things to work on so a player can make improvements that

encourage rather than discourage. Do you know why I also like Nik? He is a kind and

good person. He is approachable. He is unfailingly pleasant to be around. My happiest

times at PCC have been on court either during Nik's coaching or thanks to Nik's

coaching.”

               f.      “‘Do unto others as you would have them do unto you.’ Certainly,

you remember learning The Golden Rule as a child and teaching your own children about

the rule and its meaning; but, alas, I fear I may be mistaken. After learning of Nik

Devore’s firing, escort off the PCC premises, and the abrupt shutdown of his email, I

wonder if the board members even stopped to think about how such treatment might feel

to Nik, following his nine years of professionalism, commitment, and relationships as

Head Tennis Pro.”




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                        g.      “I am writing, as I am confident many others are, to express

       concern and alarm over the recent dismissal of Nik Devore. Nik has served the

       membership as a dedicated, talented, and personable Head Tennis Professional.”

                        h.      “I would like to express that our family is very disappointed in the

       dismissal of Nik Devore … He was incredibly committed to improving the tennis

       experience at the club. Not sure I’ve met many individuals more positive and

       encouraging.”

       33.       Plaintiff’s age was a determinative and motivating factor in Defendant’s

decision to terminate Plaintiff’s employment.

       34.       As a direct and proximate result of the discriminatory conduct of Defendant,

Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning

capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,

mental anguish, and loss of life’s pleasures, the full extent of which is not known at this time.

       35.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of the unlawful behavior complained of herein unless and until this

Court grants the relief requested herein.

                                          COUNT I - ADEA

       36.       Plaintiff incorporates the paragraphs above as if set forth herein in their entirety.

       37.       By committing the foregoing acts of discrimination against Plaintiff, Defendant

violated the ADEA.

       38.       Defendant’s violations of the ADEA were intentional and willful under the

circumstances.




                                                    7
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       39.     Defendant’s violations of the ADEA warrant the imposition of liquidated

damages.

       40.     As a direct and proximate result of Defendant’s violation of the ADEA, Plaintiff

has suffered the injuries, damages, and losses set forth herein.

       41.     Plaintiff has incurred and is entitled to reasonable costs and attorneys’ fees

incurred as a result of the unlawful behavior complained of herein.

       42.     No previous application has been made for the relief requested herein.

                                       COUNT II – PHRA

       43.     Plaintiff incorporates the paragraphs above as if set forth herein in their entirety.

       44.     By discriminating against Plaintiff, Defendant has violated the PHRA.

       45.     As a direct and proximate result of Defendant’s violation of the PHRA,

Plaintiff has sustained the injuries, damages, and losses set forth herein.

       46.     Plaintiff has incurred and is entitled to reasonable costs and attorneys’ fees

incurred as a result of the unlawful behavior complained of herein.

       47.     No previous application has been made for the relief requested herein.

                                       COUNT III – PFPO

       48.     Plaintiff incorporates the paragraphs above as if set forth herein in their entirety.

       49.     By discriminating against Plaintiff, Defendant has violated the PFPO.

       50.     Said violations warrant the imposition of punitive damages.

       51.     As a direct and proximate result of Defendant’s violation of the PFPO, Plaintiff

has suffered the injuries, damages, and losses set forth herein.

       52.     Plaintiff has incurred and is entitled to reasonable costs and attorneys’ fees

incurred as a result of the unlawful behavior complained of herein.



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        53.     No previous application has been made for the relief requested herein.

                                                RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendant’s improper conduct, and specifically prays that the Court grant the following relief to

Plaintiff by:

        a.      declaring the acts and practices complained of herein to be in violation of the

ADEA;

        b.      declaring the acts and practices complained of herein to be in violation of the

PHRA;

        c.      declaring the acts and practices complained of herein to be in violation of the

PFPO;

        d.      enjoining and restraining permanently the violations alleged herein;

        e.      awarding Plaintiff back-pay;

        f.      awarding Plaintiff front-pay;

        g.      awarding Plaintiff interest;

        h.      awarding compensatory damages to Plaintiff for past and future emotional upset

and pain and suffering;

        i.      awarding liquidated damages;

        j.      awarding punitive damages;

        k.      awarding Plaintiff the costs of this action, together with reasonable attorneys’

fees;

        l.      awarding Plaintiff such other damages as are appropriate under the ADEA,

PHRA; and PFPO; and



                                                  9
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     m.     granting such other and further relief as this Court deems appropriate.




                                          CONSOLE MATTIACCI LAW, LLC



Date: March 14, 2022              By:     _________________________
                                          STEPHEN G. CONSOLE
                                          LANE J. SCHIFF
                                          1525 Locust Street
                                          Philadelphia, PA 19102
                                          (215) 545-7676
                                          (856) 545-8211 (fax)

                                          Attorneys for Plaintiff,
                                          Nikolos DeVore




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  EXHIBIT A
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  EXHIBIT B
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